Case No. 1:14-cv-02887-JLK-CYC   Document 168-9   filed 03/18/19   USDC Colorado
                                   pg 1 of 10




                      Exhibit H
Case No. 1:14-cv-02887-JLK-CYC            Document 168-9         filed 03/18/19   USDC Colorado
                                            pg 2 of 10




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 14-CV-02887-JLK


 ALEJANDRO MENOCAL,
 MARCOS BRAMBILA,
 GRISEL XAHUENTITLA,
 HUGO HERNANDEZ,
 LOURDES ARGUETA,
 JESUS GAYTAN,
 OLGA ALEXAKLINA,
 DAGOBERTO VIZGUERRA, and
 DEMETRIO VALERGA,
 on their own behalf and on behalf of all others similarly situated,

                Plaintiffs,

 v.

 THE GEO GROUP, INC.,

                Defendant.


                 DEFENDANT THE GEO GROUP, INC.’S RESPONSES TO
                  PLAINTIFFS’ SECOND SET OF INTERROGATORIES



        Defendant, The GEO Group, Inc. (“GEO”), through its undersigned attorneys, hereby

 provides its Responses to Plaintiffs’ Second Set of Interrogatories. In providing information

 responsive to Plaintiffs’ written discovery, GEO does not intend to waive any applicable

 privilege or work product protection.
Case No. 1:14-cv-02887-JLK-CYC              Document 168-9     filed 03/18/19     USDC Colorado
                                              pg 3 of 10




 INTERROGATORY NO. 10

         Please describe and explain the possible consequences to the Plaintiffs for not complying

 with the Housing Unit Sanitation Policy.

         Response: If a Plaintiff refused to clean his or her housing unit when he or she was

 assigned to do so after meal service, the most common result would not have involved any

 consequence or loss of privileges. Rather, GEO or ICE would have asked someone else to

 perform the work that the Plaintiff refused to perform. The next most common scenario would

 involve a loss of privileges such as playing XBOX or eating cookies and ice cream that GEO

 provides. All possible sanctions for refusing to clean or refusing to obey a staff member’s order,

 which are 300-level offenses, are listed in the ICE Detainee Handbook (see, e.g., Deposition

 Exhibit 5) and GEO policy 11.2.1.

 INTERROGATORY NO. 11

         For each Plaintiff, please provide a list of each day that the Plaintiff performed work,

 tasks and/or duties under the VWP, and, for each day listed, please describe the work, tasks

 and/or duties the Plaintiff performed, the hours Plaintiff worked, and what compensation the

 Plaintiff received.

         Response:     GEO has provided VWP payroll information with respect to the named

 Plaintiffs, Bates numbered GEO_MEN 57-58, 63-66, 71-78, 85-86, 94-103, 108-116, 121-125,

 and 142-153.      GEO has also provided VWP reimbursement documents, Bates numbered

 GEO_MEN 1514-4559. These documents reflect the days the Plaintiffs worked under the VWP

 and show that Plaintiffs were paid one dollar per day for that work. Because GEO does not pay

 VWP participants on an hourly basis, GEO does not keep track of how many hours per day each

                                                 2
Case No. 1:14-cv-02887-JLK-CYC            Document 168-9        filed 03/18/19     USDC Colorado
                                            pg 4 of 10




 VWP participant worked, except that VWP participants’ shifts are between three hours and eight

 hours per day and detainees are not allowed to work more than eight hours per day and forty

 hours per week per policy 8.1.8-AUR. The work performed by each Plaintiff depends upon

 which VWP job he or she applied for and was performing. GEO has produced job descriptions

 for the VWP jobs performed by Plaintiffs, Bates numbered GEO_MEN 60, 70, 80, 88, 105, 120,

 127, 129, 137, and 155.

 INTERROGATORY NO. 12

        For each Plaintiff, please provide a list of each day that the Plaintiff performed work,

 tasks and/or duties under the Housing Unit Sanitation Policy and, for each day listed, please

 describe the work, tasks and/or duties performed, the hours Plaintiff worked, where in the facility

 the work, tasks and/or duties were performed, and what compensation Plaintiff received.

        Response: The work outlined in the Department of Homeland Security, Office of

 Immigration and Custom Enforcement-approved Housing Unit Sanitation Policy is performed by

 both GEO staff and detainees. Of the portion of the work performed by detainees, most of the

 work is performed by detainees pursuant to their VWP jobs for which they have volunteered and

 are compensated. For example, VWP participants clean toilets, showers, and bathrooms, sweep

 and mop floors, dust, empty trash, and clean windows. The only non-VWP sanitation work

 performed by detainees is maintaining the cleanliness of their individual cells and cleaning up

 their housing unit after meal services—sometimes referred to as a general clean up. The records

 GEO keeps on the VWP are outlined in response to Interrogatory Number 11. GEO does not

 keep records of how many hours detainees clean their cells or clean up after meal service. Meal

 services happen three times per day. GEO assigns between three and seven (five or six on


                                                 3
Case No. 1:14-cv-02887-JLK-CYC            Document 168-9        filed 03/18/19     USDC Colorado
                                            pg 5 of 10




 average) detainees in a given housing unit to clean up after each meal service. The majority of

 general population housing units have up to 80 detainees and one holds 48.                    It takes

 approximately 30-45 minutes to clean up after meal service. GEO’s practice is to not assign post-

 meal clean up responsibilities to detainees who are participating in the VWP. Other than through

 the VWP, a detainee is never required to clean anything outside of his or her housing unit.

 INTERROGATORY NO. 13

        Please describe each job, task and/or duty the Plaintiffs could have been required to

 perform under the Housing Unit Sanitation policy and the location with [sic] the facility that such

 work, tasks and/or duties were performed.

        Response: For the Plaintiffs enrolled in the VWP, their VWP responsibilities may have

 fallen within the scope of the Housing Unit Sanitation Policy.           GEO has produced job

 descriptions for the VWP jobs performed by Plaintiffs, Bates numbered GEO_MEN 60, 70, 80,

 88, 105, 120, 127, 129, 137, and 155. Regarding non-VWP work, detainees are required to

 maintain the cleanliness of their cells and to clean up after meal service if assigned to do so.

 Cleaning up after meal service involves throwing away food and cleaning tables, floors,

 windows, microwaves, phones, windows, sinks, and any other part of the common living area

 dirty with food from the meal.

 INTERROGATORY NO. 14

        Please describe every disciplinary or corrective action taken against any Plaintiff between

 October 22, 2004 and the present and the reason for each disciplinary or corrective action.




                                                  4
Case No. 1:14-cv-02887-JLK-CYC            Document 168-9        filed 03/18/19     USDC Colorado
                                            pg 6 of 10




        Response: All formal disciplinary action taken against the Plaintiffs is included in their

 detainee files, Bates numbered GEO_MEN 20549-21973. GEO does not keep records of how

 often a detainee is orally corrected or denied privileges such as ice cream or time playing XBOX.

 INTERROGATORY NO. 15

        Please explain how GEO determined the rate to be paid to Plaintiffs under the VWP

 policy between October 22, 2012 and the present.

        Response: The rate of pay for the VWP is the amount set in GEO’s government contract

 with the Department of Homeland Security, Office of Immigration and Custom Enforcement

 (see, e.g., GEO_MEN 2).

 INTERROGATORY NO. 16

        Please describe the total cost to GEO of running the Aurora detention facility without

 detainee participation in the Housing Unit Sanitation Policy or the VWP, including describing

 each type of cost GEO would expect to incur, which includes but is not limited to wages, taxes,

 benefits, and other expenses.

        Objection: GEO objects to this Interrogatory because it is not relevant to the claims

 asserted or damages sought by Plaintiffs. Plaintiffs’ calculation of damages is set forth in the

 Proposed Scheduling and Discovery Order, Doc. No. 61, pp. 7–9. The information requested in

 this Interrogatory has no bearing on Plaintiff’s method of calculating damages as set forth in the

 Proposed Scheduling and Discovery Order, which is based solely upon the alleged fair market

 value of the number of hours the Plaintiffs labored. GEO also objects to this Interrogatory as

 unduly burdensome. To answer this Interrogatory, GEO would need to assess the overhead

 costs of administering these programs, the duties of which are spread across dozens of GEO


                                                  5
Case No. 1:14-cv-02887-JLK-CYC            Document 168-9        filed 03/18/19     USDC Colorado
                                            pg 7 of 10




 employees.    In addition to being unduly burdensome, without making significant and

 unspecified assumptions of fact, any attempt at that calculation would be speculative.


        Respectfully submitted this 13th day of November, 2017.

                                               As to objections:

                                               S/ Dana L. Eismeier
                                               Dana L. Eismeier
                                               Michael Y. Ley
                                               BURNS, FIGA & WILL, P.C.
                                               6400 S. Fiddlers’ Green Circle, Suite 1000
                                               Greenwood Village, CO 80111
                                               Phone:            303-796-2626
                                               Fax:              303-796-2777
                                               Email:            deismeier@bfwlaw.com
                                                                 mley@bfwlaw.com

                                               S/ Charles A. Deacon
                                               Charles A. Deacon, Esq.
                                               NORTON ROSE FULBRIGHT US LLP
                                               300 Convent Street, Suite 2100
                                               San Antonio, TX 79205-3792
                                               (210) 270-7133

                                               Mark Emery, Esq.
                                               NORTON ROSE FULBRIGHT US LLP
                                               799 9th Street, NW, Suite 1000
                                               Washington, DC 20001-4501
                                               (202) 662-0210

                                               Attorneys for Defendant
                                               The GEO Group, Inc.




                                                  6
Case No. 1:14-cv-02887-JLK-CYC         Document 168-9     filed 03/18/19    USDC Colorado
                                         pg 8 of 10




                                  CERTIFICATE OF SERVICE

      I hereby certify that on this 13th day of November, 2017, I served the foregoing
 DEFENDANT THE GEO GROUP, INC.’S RESPONSES TO PLAINTIFFS’ SECOND
 SET OF INTERROGATORIES via email to the following:

 Brandt Milstein, Esq.                       Andrew Turner, Esq.
 Milstein Law Office                         Kelman Buescher, P.C.
 5959 Canyon Boulevard                       600 Grant Street, Suite 450
 Boulder, Colorado 80302                     Denver, Colorado 80203

 Alexander Hood, Esq.                        Hans Meyer, Esq.
 Towards Justice                             Meyer Law Office, P.C.
 601 16th Street, Suite C #207               P.O. Box 40394
 Golden, Colorado 80401                      Denver, Colorado 80204

 R. Andrew Free, Esq.                        Charles A. Deacon, Esq.
 Law Office of R. Andrew Free                Norton Rose Fulbright US LLP
 Bank of America Plaza                       300 Convent Street, Suite 2200
 414 Union Street, Suite 900                 San Antonio, Texas 79205-3792
 Nashville, Tennessee 37219

 Mark Emery, Esq.                            Ashley Kathryn Boothby, Esq.
 Norton Rose Fulbright US LLP                Kelman Buescher Firm
 799 9th Street, NW, Suite 1000              600 Grant Street, Suite 450
 Washington, DC 20001-4501                   Denver, CO 80203

 P. David Lopez, Esq.                        Ossai Miazad, Esq.
 Outten & Golden, LLP                        Elizabeth V. Stork, Esq.
 601 Massachusetts Ave. NW                   Juno E. Turner, Esq.
 2nd Floor West Suite                        Outten & Golden, LLP
 Washington, DC 20001                        685 Third Ave., 25th Floor
                                             New York, NY 10017
 David Hollis Seligman, Esq.
 Towards Justice
 1535 High Street, Suite 300
 Denver, CO 80218




                                            7
Case No. 1:14-cv-02887-JLK-CYC   Document 168-9      filed 03/18/19    USDC Colorado
                                   pg 9 of 10




                                    S/ Michael Y. Ley
                                    Michael Y. Ley
                                    BURNS, FIGA & WILL, P.C.
                                    6400 S. Fiddlers’ Green Circle, Suite 1000
                                    Greenwood Village, CO 80111
                                    Phone:        303-796-2626
                                    Fax:          303-796-2777
                                    Email:        mley@bfwlaw.com

                                    Attorneys for Defendant
                                    The GEO Group, Inc.




                                       8
Case No. 1:14-cv-02887-JLK-CYC            Document 168-9          filed 03/18/19     USDC Colorado
                                           pg 10 of 10




                                         VERIFICATION

          I have read the foregoing interrogatory responses and I affirm under oath that the answers
  are true and correct to the best of my knowledge.




                                                     By: Dawn Ceja

                                                     Its: Assistant Warden, Operations




                                                 9
